Case 3:11-cv-00500-DRH-DGW Document 142-1 Filed 08/10/12 Page1of8 Page ID #1098

Robert T. Carter, Ph.D. and Associates
27 Cannon Street
West Orange, NJ 07052

8/10/2012

Expert Report in the matter of Moultrie v Penn Aluminum et al. submitted to
Jana Yocom, Attorney at Law
320 S. 11" Street

Mt. Vernon, Illinois 62864.
Case 3:11-cv-00500-DRH-DGW Document 142-1 Filed 08/10/12 Page 2of8 Page ID #1099

Background

The lawsuit was brought against Penn Aluminum and other corporate defendants alleging
violations of the Federal Civil Rights Acts and the National Labor Relations Act. It is alleged
that Mr. Moultrie suffered emotional distress and psychological injury, as a result of being
exposed to racial discrimination and retaliation for his complaints.

Qualifications

I was contacted about this case on or about June 8th or 9th, 2012. I was retained on June
15th, 2009 and asked to submit my report on or before August 10th, 2012. I have been retained
to provide a social framework as a context for the issues alleged in the case. The social
framework provides a context for the allegations of racial discrimination. The framework is
based on published research literature in the law and social sciences. In addition the social
framework analysis I was asked to consider the racial aspects of Mr. Moultrie’s experiences and
to assess whether he suffered any race-related emotional distress or race-based traumatic stress
injury. I am a licensed psychologist in the State of New York, and a fellow in the American

Psychological Association (please see my curriculum vitae for further details).

Previous Testimony

My last deposition testimony was three years ago in 2009 (please see my curriculum vitae for
further details.)
Fee Structure

Phase One: Expert report
Case 3:11-cv-00500-DRH-DGW Document 142-1 Filed 08/10/12 Page 3of8 Page ID #1100

The hourly fee for the first phase of the work was $200.00 per hour (including travel
time) plus expenses, as well as $100.00 per hour for a research assistant.
Phase Two: Deposition
The hourly fee for the second phase of the work is $250.00 an hour (including travel
time) and expenses.
Phase Three: Trial testimony
The hourly fee for the third phase of the work is $300.00 an hour (including travel time)
plus expenses.
Documents Reviewed
Amended Complaint
Second Amended Complaint
Plaintiff's First Amended Disclosures
Plaintiff's Supplemental Response to International Brotherhood of
Electrical Workers, AFL-CIO, Local 702 First Request for
Production of Documents To Plaintiff Levia Moultrie
Plaintiff's Response to Defendants International Brotherhood of
Electrical Workers, AFL-CIO, Local 702 Objections to First set of
Interrogatories to Plaintiff
Plaintiff's Response to Defendant Penn Aluminum’s First set of
Interrogatories
Exhibits from Deposition of Mr. Moultrie
Plaintiff's First Request for Production to Defendant the Marmon

Group, LLC
Case 3:11-cv-00500-DRH-DGW Document 142-1 Filed 08/10/12 Page 4of8 Page ID #1101

Plaintiff's First Request for Production to Defendant the Penn
Aluminum International, LLC
Plaintiff's Second Request for Production to Defendant Penn
Aluminum, International LLC
Plaintiff's Amended First Request for Production to Defendant
International Brotherhood of Electrical Workers, AFL-CIO,
Local 702
Plaintiff's Second Request for Production to Defendant
International Brotherhood of Electrical Workers, AFL-CIO, Local
702
L. Moultrie Deposition Testimony
G. Blaine Deposition Testimony
K. Sizemore Deposition Testimony
M. Steele Deposition Testimony
P. Crawford Deposition Testimony
S. Gale Deposition Testimony
D. Mann Deposition Testimony
Illinois Department of Human Rights Investigation
Penn Aluminum Personnel files — (See Appendix A)

Other Information Relied Upon for Report

Interview with Mr. Moultrie
Case 3:11-cv-00500-DRH-DGW Document 142-1 Filed 08/10/12 Page5of8 Page ID #1102

Social Framework for Opinions

My opinions in this case are considered within the social context in which racial
discrimination in the workplace occurs. Race and racial encounters in the United States are
complex and controversial matters. Therefore, it is essential that the issues in the case be
considered within the context of how race is understood and operates in everyday life. Moreover,
it is critical to consider some of the race-related practices and experiences that minority people
encounter, as documented by scholarship, media accounts, and research evidence (Gilliam,
Valentino & Beckmann, 2002).

The United States has a long and painful history of racism based on skin color, physical
features, and language that created systems and practices that continue to result in racial
stratification, racial minorities having unequal rights, and minorities being mistreated. Americans
have the legal right to a workplace free of racial hostility. Workplace discrimination is illegal
according to the Civil Rights Acts of 1866 and 1964 and similar State laws, however, researchers
who study the prevalence of workplace discrimination show that Americans continue to
experience unfair treatment. Although national polls have found that 69% of White and 59% of
Black Americans believe that race relations have improved over time (Jones 2008), the historical
legacy of racism remains. Today, although the expression of racism and racial bias has become
more subtle and indirect, it is still alive and well.

The continued occurrence and impact of racism has been well documented in research
and the popular press. Many respected social and government organizations have identified
racism as a socio-political issue that contributes to health, mental health, educational, and
workplace disparities (e.g., Smedley, Stith, & Nelson’s Unequal Treatment: Confronting racial

and ethnic health disparities in healthcare, Institutes of Medicine, 2003; Mental health: Culture,
Case 3:11-cv-00500-DRH-DGW Document 142-1 Filed 08/10/12 Page 6of8 Page ID #1103

race, and ethnicity. A Supplement to Mental health: a Report of the Surgeon General, U.S.
Department of Health and Human Services, 2001). These reports do not question the existence of
racism as a current feature of everyday life in the United States.

Racism may take several forms, many of which have been investigated in research that
examines the impact of racism on mental and physical health in various settings like workplaces.
One form of racism is avoidance or social exclusion wherein people are rejected or ignored
because of their race or ethnicity. Another form is hostility or racial harassment, which includes
verbal and non-verbal acts directed at people to demean, intimidate, silence, or communicate
inferior status based on their race (e.g., that the person is powerless). A third kind of racism, is
aversive-hostility, which can occur in schools or in the workplace when people encounter
barriers, lack of opportunity and, in some instances, a racially hostile environment. These forms
of racism can be expressed overtly as in the use of racial slurs, intimidation and threats, or they
can be covert or indirect (Brondolo, ver Halen, Pencille, Beatty, & Contrada, 2009; Carter,
2007). Whatever form it takes, racism is a significant stressor whose adverse health and mental
health effects on Black Americans has been well documented in the empirical research literature
(Brondolo, et al., 2009; Carter, 2007; Dovidio, Gaertner, Kawakami, & Hodson, 2002; Forsyth &
Carter, 2012; Pieterse, Todd, Neville, & Carter, 2012; Williams & Mohammad, 2009).

General Prevalence of Racial Discrimination

Research on racial discrimination demonstrates that many Americans continue to
experience racial discrimination in various areas of life (e.g., schools and work). In my own
investigations (Carter et al., 2005; 2007) of 233 Black, Asian, Biracial, and Latino peoples’
experiences with racial discrimination, I found that 89% of the participants had experienced

racial discrimination. Recent studies have found that Black Americans, in particular, face high
Case 3:11-cv-00500-DRH-DGW Document 142-1 Filed 08/10/12 Page 7of8 Page ID #1104

rates of racial discrimination. For example, using data from a national probability sample from a
longitudinal study (conducted over a 15-year period) that included White (1,813) and Black
Americans (1,507), Borrell and colleagues (2007) found that 89% of the Black Americans
experienced racial discrimination in one of several domains (e.g., getting a job, at work, in
housing, receiving medical care) and 34% experienced racial discrimination in at least three of
the domains. In comparison, only 1% of White Americans reported experiencing racial
discrimination in at least three of the domains. Similarly, in a study of the prevalence of
workplace harassment (e.g., verbal aggression, disrespectful behavior) and racial discrimination
in a racially diverse sample of 1200 low-income workers, high levels of exposure to racial
discrimination was reported by 37% of the workers of Color, as compared to 10% of White
workers; and among the workers of Color, Blacks reported the highest level of exposure at 44%
(Krieger et al., 2006).

Recent research that focuses only on Black samples has found similar results to those
found in mixed race samples. A study using data from the National Survey of Black Workers
found that 71% of the sample reported having had an experience of racial discrimination (Martin
et al., 2003). Ina study examining the frequency of racial discrimination in health care settings,
Lewis and colleagues (2006) found that 85% of the Black women in the study experienced
“everyday” forms of discrimination (i.e., minor, everyday insults that individuals may experience
as members of a minority group). The above mentioned studies provide a sample of well
documented findings that people of Color continue to experience racial discrimination; and that
Black Americans experience higher rates of exposure. One domain that racial minorities
experience discrimination is at work as evidenced by Equal Employment Opportunity

Commission (EEOC) data.
Case 3:11-cv-00500-DRH-DGW Document 142-1 Filed 08/10/12 Page 8of8 Page ID #1105

Statistical data on charges filed at the EEOC for race-based work discrimination indicate
that 38,227 charges of racial discrimination were filed in 2011, a 9% increase over complaints
recorded for 2007. This increase is likely a significant underestimate of the number of incidents
of workplace discrimination that actually occurred in 2011 since researchers report that racial
minority group members tend to minimize their race-related experiences and are reluctant to file
formal charges (Hammond, Gillen, & Yen, 2010; Hirsh & Kormrich, 2008). Studies involving
many racial groups (Whites, minorities, etc.) have found that minority group members reported
more workplace discrimination than majority group members. Black Americans were more
likely than other racial-ethnic employees to report frequent and multiple types of discrimination
exposure.

In summary, research on the frequency of racial discrimination shows that racism occurs
in a variety of settings with prevalence rates ranging from 37% to 89%, One area of life where
racial discrimination can have a particularly significant impact on a person’s overall well-being
is at work.

Workplace Discrimination and Harassment

A large body of research has focused on issues of discrimination and prejudicial practices
in the workplace. Much of this work has looked at the discriminatory practices of individual
managers and supervisors, while some has looked into the institutional practices of labor
organizations and its members. Overall, the research points to the negative effects of racism and
discrimination on socially stigmatized groups, with a heavy focus on racial minorities. In much
of the research, Black Americans are the target of an overwhelming majority of the

discriminatory practices investigated.
